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  Attorneys for Defendant
  EMC MORTGAGE CORPORATION and
  Defendant/Third-Party Plaintiff
  FREMONT INVESTMENT & LOAN
  now known as FREMONT REORGANIZING CORPORATION

                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAI'I

  BENJAMIN M. NARVAES and                          Civil No. 08-00584 DAE KSC
  ELENA V. NARVAES,
                                                   STIPULATION FOR DISMISSAL WITH
                        Plaintiffs,                PREJUDICE AS TO ALL CLAIMS AND
                                                   ALL PARTIES; ORDER
         vs.

  WELLS FARGO BANK, N.A., NICHOLE
  K. BUENDIA, BLAKE SATO, IVONNE
  MACHADO and 808 HOME MORTGAGE,                   Trial Date: November 3, 2009
  INC.                                             Trial Judge: The Honorable
                                                                 David Alan Ezra
                        Defendants.

  BENJAMIN M. NARVAES and                          Civil No. 07-00621 BMK
  ELENA V. NARVAES,

                        Plaintiffs,

         vs.

  EMC MORTGAGE CORPORATION and
  FREMONT INVESTMENT AND LOAN,

                        Defendants.


  726146v2vfremont - stipulation for dismissal with prejudice (usdc) / 4848 - 51
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  FREMONT INVESTMENT AND LOAN,

                        Third-Party
                        Plaintiff,

          vs.

  808 HOME MORTGAGE, INC.,
  FIDELITY NATIONAL TITLE
  INSURANCE COMPANY,

                        Third-Party
                        Defendants.


                    STIPULATION FOR DISMISSAL WITH PREJUDICE
                          AS TO ALL CLAIMS AND PARTIES

                 IT IS HEREBY STIPULATED pursuant to Rule

  41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, by and

  between the parties hereto, through their respective counsel,

  that all claims and parties be dismissed with prejudice.

                 No other claims, parties or issues remain in this

  action and each party shall bear its own costs and attorneys'

  fees.

                 All parties who have appeared and remain in this

  action have signed this Stipulation.




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                 This Court shall retain jurisdiction to enforce the

  settlement agreement in this case.

                 DATED: Honolulu, Hawai`i, November 18, 2009.



                                                /s/ JOHN HARRIS PAER
                                              CHRISTIAN P. PORTER
                                              JOHN HARRIS PAER
                                              Attorneys for Plaintiffs
                                              BENJAMIN M. NARVAES and
                                              ELENA V. NARVAES



                                                /s/ LAURA P. COUCH
                                              JADE LYNNE CHING
                                              LAURA P. COUCH
                                              DAVID E. AUSTIN
                                              Attorneys for Defendant
                                              EMC MORTGAGE CORPORATION and
                                              Defendant/Third-Party Plaintiff
                                              FREMONT INVESTMENT & LOAN, now
                                              known as FREMONT REORGANIZING
                                              CORPORATION



                                                /s/ HARVEY E. HENDERSON
                                              HARVEY E. HENDERSON
                                              Attorney for Third-Party Defendant
                                              808 HOME MORTGAGE INC. and
                                              Defendant BLAKE SATO




                                                /s/ WILLIAM M. HARSTAD
                                              JOHN P. MANAUT
                                              MELISSA H. LAMBERT
                                              WILLIAM M. HARSTAD
                                              Attorneys for Defendants
                                              WELLS FARGO BANK, N.A. as Trustee
                                              for Carrington Mortgage Loan Trust,
                                              Series 2007-FRE1



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                                                /s/ JAMES A. STANTON
                                              JAMES A. STANTON
                                              Attorney for Defendant
                                              IVONNE MACHADO

  APPROVED AND SO ORDERED:

  DATED:      Honolulu, Hawaii, November 20, 2009.




                                             _____________________________
                                             David Alan Ezra
                                             United States District Judge




  ________________________________________________________________
  Benjamin M. Narvaes and Elena V. Narvaes v. EMC Mortgage
  Corporation, et al., Civ. No. 07-00621 BMK and Benjamin M.
  Narvaes and Elena V. Narvaes v. Wells Fargo Bank, N.A., et al.,
  Civ. No. 08-00584 DAE KSC; STIPULATION FOR DISMISSAL WITH
  PREJUDICE AS TO ALL CLAIMS AND PARTIES; ORDER




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                                                  4 prejudice (usdc) / 4848 - 51
